TULL &amp; GIBBS, INC., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Tull &amp; Gibbs, Inc. v. CommissionerDocket No. 32294.United States Board of Tax Appeals21 B.T.A. 1073; 1931 BTA LEXIS 2260; January 7, 1931, Promulgated *2260  1.  Petitioner held to have met the requirements of section 705 of the Revenue Act of 1928 and the respondent erred in determining deficiencies on account of collections made in the taxable years on installment sales of years prior to 1920.  Grand Rapids Show Case Co.,12 B.T.A. 1024"&gt;12 B.T.A. 1024, followed.  2.  Respondent's action, in excluding from invested capital for 1920 the unrealized profits on installment sales of 1919 and prior years, approved on authority of Jacobs Bros. Co.,19 B.T.A. 59"&gt;19 B.T.A. 59. C. E. McCulloch, Esq., and I. F. Phipps, Esq., for the petitioner.  L. A. Luce, Esq., for the respondent.  ARUNDELL*1073  Proceeding for the redetermination of deficiencies for the years 1920, 1921, and 1923 in the respective amounts of $18,599.19, $1,679.32, and $5,304.20.  The petition filed also purports to include the year 1922, but was dismissed as to that year at the hearing on motion of counsel for respondent on the ground of lack of jurisdiction.  The errors alleged are the inclusion in income of profits on collections in the taxable years on installment sales made in years prior to 1920, and the exclusion from*2261  invested capital for 1920 of unrealized profits on installment sales made in prior years.  FINDINGS OF FACT.  Petitioner, a Washington corporation, in 1920, 1921, and 1923, and for many years prior thereto, was engaged in the business of selling house furnishings and furniture at retail.  About 75 per cent of its business was on the installment sales basis.  During the taxable years and for many years prior thereto petitioner's books were kept so as to reflect the income from installment sales according to the installment sales method of accounting.  For the years prior to 1920 petitioner reported income on the accrual basis.  In its original return for 1920, and also for the years 1921 and 1923, petitioner reported income on the installment basis.  For the year 1920 respondent included in petitioner's income the amount of $131,711 representing profits realized on collections made in that year on installment sales of prior years, which sum was reported by petitioner in prior years on the accrual basis and a tax was paid thereon.  Of that sum, $119,756.86 represents profits on 1919 installment sales and $11,954.14 represents profits on 1918 installment sales.  For the year*2262  1921 respondent included in petitioner's income $17,175.37 representing profits realized on collections made in that *1074  year on installment sales made in 1919, which sum was reported for 1919 on the accrual basis and a tax paid thereon.  For the year 1923 respondent increased the income reported by $108,897.38, which increase he explained in the notice of deficiency as "understatement of prior years profits." After so increasing income, the respondent reduced it by $66,463.77, which reduction is stated in the deficiency notice to represent "1923 profits overstated." These adjustments are further explained in the deficiency notice by reference to similar adjustments for 1919 as follows: The amounts of unrealized profit on 1919 sales has been computed as shown in the attached schedule, and is in accordance with Article 42 of Regulations 69.  For the year 1920 the respondent excluded from petitioner's invested capital unrealized profits of $188,680.29 on installment sales made in 1919 and prior years, and determined invested capital to be $321,904.44.  OPINION.  ARUNDELL: Petitioner claims that under section 705 of the Revenue Act of 1928 the respondent erred in determining*2263  deficiencies based on amounts collected in the taxable years on account of installment sales made prior to 1920.  The deficiency notice in this proceeding was issued by the respondent prior to the enactment of the Revenue Act of 1928.  Section 705 of that Act, as far as material here, provides that if a taxpayer changed his method of reporting income to the installment basis for the year 1924 or any prior year by an original return made before February 26, 1926, then no deficiency shall be determined on account of amounts received during the taxable year from sales made in years prior to that of the change to the installment basis.  Petitioner has established that it has met the requirements of the above section and we accordingly hold that the respondent erred as alleged on this issue.  ; . For the years 1920 and 1921 the parties stipulated the amounts collected in those years which represented profits on sales of 1919 and prior years.  For the year 1923 they stated at the hearing that they were unable to agree as to the adjustments made.  However, the deficiency notice*2264  shows the adjustments made by the respondent and also gives an explanation of them.  For that year respondent increased income by $108,897.38 and decreased it by $66,463.77, making a net increase of $42,433.61.  The adjustments are explained by reference to the computation for the year 1919, where the explanation is given as set out in the findings of fact.  This is sufficient to show that the net increase of $42,433.61 falls in the same category as the adjustments for 1920 and 1921 which we have held to be erroneous.  *1075  The invested capital question has heretofore been decided adversely to petitioner's contention in a number of cases.  See ; ; Decision will be entered under Rule 50.